   

5 Case 1:03-cr-10lO4-.]DB Docu i|ed x §{ Page 10f3 Page|D 384

'ACJA 24 AUTHOR|'.ZATION AND VOUC]-{ER FOR PAYMENT OF '[`RANSCRIPT (Rev. 5!99)

 

 

 

 

 

 

 

 

E, CIR.!'DIST.." DIV. CODE 2. PERSON REPRESENTED \"UUCHER NUMBER
Western District of TN Betty S. Conrad
3. MAG. DKT./DEF. NUMBER 4‘ DfS'I`. DKT./DEF. NUMBER 5. APPEALS DKT./DEF. NUMBER 6` OTHER DKT` NUMBER
03-10104-DO4-T _ _ _. ,_` .-:..,

7. IN CASE/MA'I']`ER OF (Case Name_) 3. PAYMENT CATEGORY ‘-: `- `\ 9 '[YPE PERSON" REPRESENTED 10. REPRESENTATION TYPE

E_l Fe]ony ij Petty Ofi`ense E] Adult Dei`endant [:l Appel]ant (See lnsrnrcrion.:}
USA v. COnrad E] Misdemeanor ij Other ij .iuvenile Defendant [] Appeliee CC

ij Appeal l:.l Other

 

l [, OFFENSE(S) CHARGED (Cite U.S. Code, Titie & Section) U'more than one ojjense. i'i.rr {up mfi`ve) major aj’erises charged according m seventy ofajferise.
1) 21 846-CD.F - - Conspiracy to Dlstn'bute Contro||ed Substance

 

 

      

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12, PROCEEDING iN wHtCi-t TRANSCR:PT is TO BE usED rom-rite briefly
Appeal Process

  
 

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l 3` PROCEEDING TO BE TRANSCRIBED (De.scrtbe specwca.'l‘yj. NOT'E: The mci transcripts are nor to include prosecution opening stateme§_.':__ct;fen.se npen.';@',!ds`r’.'_m`enr{

prosecution argument defense i::tr‘§,rmrieril'l prosecrrrtnn rebuirai', voir dire nr}m'y fn.rfrrrcrmrrs, im!ess specmca!l'y authorized by the Cnur.' (seeJrémil/`J_,_|
Entire Tn`a| before Juu'ge James D. Toctd on September 9, 2004

 

 

 

 

l4. SPECIAL AUTHOR]ZATIONS

 

A. Apportioned % of transcript with (Gi`ve case name and defendanr)

 

 

 

B. l:l Expedited l:l Daily l:l Houriy Transcript l:l Realtime U'nedited Transcript . ‘.
C. Cl Prosecution Opening Statement |:l Prosecution Argument l:l Prosecution Rebuttal "
l] l')e!`ense Opening Statement l:i Def`ense Argument l:l Voir Dire ll Jury instructions

 

Di ln this multi-det'endant case, commercial duplication of`transcripts will impede the delivery of` accelerated transcript services to
persons proceeding under the Crimina] justice Act.

 

 

15. ATTORNEY'S STATEMENT 16, COURT ORDER
As the attorney for the per`son represented who is managed abuve, ! hereby affirm that the Financial eligibility of the person represented having been established to thc Court‘s
transcript requested is _ei:essa.ry for adequate representation ], therefore, request satisfaction the authorization requested in [tem l$ is hereby granted
authorization to obtain té; transcript services at the expense ofthe Um'red States pursuant `-

to the Cri inal.lustice Act. l
L ij mq/ ang/05

 

 

 

 

 

Signature ofAttomey Date gnatuie of Presiding .ludicial Ot`f'tcer or By Order of the Coun
David W. Camp
Printed Name ' Nunc Pro Tunc Date
Tc]ephonc (731)664-4495
Ei Pa.neI Attorney l;] Retained Attorncy l:i Pro-Se l:] Legal Organization

  
    

   

  
 
 

      

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lB. PAYEE'S NAME (.F`r'r.tiName. M¢!., t'.asl' Narrre` including any siijb:), AND
MAIL]NG ADDRESS

U Of`ficial ij Contract l:l Transcriber l:i Other

 

19\ SOCIAL SECURITY NUMBER OR EMPLOYER lD NUMBER OF PAYE.E

 

 

 

 

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20. TRANSCRIPT PAGE NUMBERS NO. OF PAGES RATE PER PAGE SUB-TOTAL APPORTIONED TOTAL
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Expense (itemr`:e)

 

TOTAL AMOUNT CLAIMED:

 

 

21. CLAIMANT'S CERTlFICA'I`iUN OF SERVICE PROV[DED

l hereby certify that the above claim is for services rendered and is correct, and that l have not sought or received payment (ct)mpen.salr'on r)r anyr!iing nfvm'ue) from any other
source for these services

Signature of

 

 
 
 

    
 

 
 

 

 
 

the services were rendered and that the transcript was received

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22.

 

 

   
 
 

 

  

 

 

   

23. APPROVED FOR P.i\YMENT 24 AMOUNT APPRO\/ED

 

 

 

 

 

Signature ofJudicial Of`t`icer or Clerk of Court Date

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